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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS


*********************
KATY JELUSO,             *                           No. 14-1210V
                         *
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: July 7, 2015
                         *
SECRETARY OF HEALTH      *                           Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                           transverse myelitis (“TM”).
                         *
             Respondent. *
*********************
Anne C. Toale, Maglio, Christopher & Toale, PA, Sarasota, FL, for Petitioner;
Heather L. Pearlman, United States Dep’t of Justice, Washington, DC, for
Respondent.

                              UNPUBLISHED DECISION1

       On July 1, 2015, respondent filed a joint stipulation concerning the petition
for compensation filed by Katy Jeluso on December 16, 2014. In her petition, Ms.
Jeluso alleged that the influenza (“flu”) vaccine, which is contained in the Vaccine
Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she received on
November 24, 2013, caused her to develop transverse myelitis (“TM”). Petitioner
further alleges that she experienced the residual effects of this injury for more than
six months. Petitioner represents that there has been no prior award or settlement
of a civil action for damages as a result of her condition.

       Respondent denies that petitioner’s TM or any other injury was caused-in-
fact by petitioner’s November 24, 2013 flu vaccination, and denies that her current
disabilities are sequelae of this injury.

       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $165,000.00 in the form of a check payable to petitioner,
        Katy Jeluso. This amount represents compensation for all damages that
        would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-1210V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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